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Clark, Gregory B.

 

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3. MAG. DKTJDEF. NUMBER 4. DlS'I‘. DKTJDEF. NUM.BER

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5. AFPEALS DK'I`JDEF. NUMBER 6. OTHER DKT. NUMBER

 

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U.S. v. Clark Felony

(Cm Namz)

 

 

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lI. ATTORNEY'S NAME Flral Nan\¢, M.l., Lall Nam¢. including an:¢l aull!ix}
AND MAILENG A.DDRE 5

York, Jon

Pentecost Glenn & Rudd, PLLC
106 Stonebrid e Blvd.

Jackson TN 8305

Tel¢phon¢ Number: 473 l) 668'5995
14. N AME AND M.AILINC ADDRESS OF LAW FlRM {nnly provide per inatructionl}

 

 

13. COURT ORDER

El 0 Appointin' Counlel m C Co-Counael
L’E F sumnrm¢rno¢r¢mr ll n sumI-‘nrn¢m»¢oammy
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Appo¢`mmenl Date:

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19. CERTlFICATION OF ATTORNEY/PAYEE FOR THE PERlOD D F SERVICE
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15. a. Arraignment and/or Pleo --4 z
b. Bail and Detentlon Hearings m §
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20. AP|’O|NTMENT 'I'ER.MlNA'l'ION DATE 21. CASE DISFO SITION

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22. CLA[M STATUS l:} l"ina| Paymenl [:I lnterim l'aym¢ot Numhar

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1]. IN COURT COMP. 24. OUT OF COURT COMF.

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25. TRA\"EL EXPENSES

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26. OTHER F.XPENSES 27. TOTAL AMT. AP|’RICERT

 

23. SlGNATURE OF THE PRESIDING .IUD|C|AL OFF'ICER

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29. lN COU`RT COMP. Jl). OUT OF COURT COMP.

 

 

31. TRA\"EL EXI'ENSES

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Angela R. Scott

State Attorney General's Oftice
P.O. Box 2825

Jackson7 TN 38302

Honorable J ames Todd
US DISTRICT COURT

